         Case 16-19116-JNP                     Doc 1        Filed 05/10/16 Entered 05/10/16 14:24:24                                 Desc Main
                                                            Document Page 1 of 35
 Fill in this information to identify your case:

 UNITED STATES BANKRUPTCY COURT
                                                                                                                 Check if this is:
 NEW JERSEY District of NEW JERSEY, CAMDEN, Division
                                                                                                                          An amended filing

 Case # (if known):




 Official Form 101

 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                        12/15



 Part 1:              Identify Yourself
 1. Your full name    About Debtor 1:                                                           About Debtor 2 (Spouse Only in a Joint Case):

                      Mark                                                                      Barbara J.
                      A.
                      Spalding                                                                  Spalding



 2. All other names you have used in the last 8 years

                                                                                                Barbara J. Ackley



 3. Only the last 4 digits of your Social Security number or federal OR Individual Taxpayer Identification number (ITIN)

                      XXX-XX-XXXX                                                               XXX-XX-XXXX

 4. Any business names and Employer Identification Numbers (EIN) you have used in the last 8 years
                 I have not used any business names or EINs.                                              I have not used any business names or EINs.




 5. Where you live                                                                               If Debtor 2 lives at a different address:

        102 Locust Avenue                                                                        Same



        Pennsville                                     NJ 08070
        Salem                                                                                    Salem
                                          If your mailing address is different from the one above, fill it in here.




F.R.B.P. 9009: Forms may be combined and their contents rearranged to permit economies in their use. (MODIFIABLE INFORMATION IN BOLD PRINT)
Official Form 101                                         Copyright (c) www.Bankruptcy Master.com 1986-2016. All Rights Reserved (609) 651-0052
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     6. Why you are choosing this district to file for bankruptcy?

              Over the last 180 days before filing
              this petition, I have lived in this
              district longer than in any other
              district.



  PART 2:             Tell the Court About Your Bankruptcy Case
  7. The chapter of the Bankruptcy Code you are choosing to file under Chapter:      7

  8. How you will pay the fee?    I will pay the entire fee when I file my petition.


  9. Have you filed for bankruptcy within the last 8 years?
             No.
             Yes.



10. Are any bankruptcy cases pending or being filed by a spouse who is not filing this case with you, or by a business partner, or by an affiliate?
             No.
             Yes.



  11. Do you rent your residence?
               No      Go to line 12.
               Yes
             Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                            No.   Go to line 12.

                            Yes. Initial Statement About an Eviction Judgment Against You (Form 101A) is attached with this bankruptcy petition.




  PART 3: Report About Any Businesses You Own as a Sole Proprietor
  12. Are you a sole proprietor of any full or part-time business?
                    No.   Go to Part 4.




   PART 4: Report if You Own or Have Any Hazardous Property or Needs Attention
  14. Do you own or have any property that poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety?
      Or do you own any property that needs immediate attention?
                    No.
                    Yes. What is the hazard?




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  PART 5: Explain Your Efforts to Receive a Briefing About Credit Counseling
   15. Tell the court whether you have received a briefing about credit counseling.
            About Debtor 1:                                                           About Debtor 2 (Spouse Only in a Joint Case):

                 I received a briefing from an approved                                    I received a briefing from an approved
                 credit counseling agency within the                                       credit counseling agency within the
                 180 days before I filed this bankruptcy                                   180 days before I filed this bankruptcy
                 petition, and I received a certificate of                                 petition, and I received a certificate of
                 completion.                                                               completion.


 Part 6: Answer These Questions for Reporting Purposes
 16. What kind of debts do you have?
             16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8).
                                  No.     Go to line 16b.
                                  Yes. Go to line 17
             16b. Are your debts primarily business debts?
                                  No.    Go to line 16c.
                                  Yes.   Go to line 17.

             16c. State the type of debts you owe that are not consumer debts or business debts.




 17. Are you filing under Chapter 7?
                    No.   I am not filing under Chapter 7. Go to line 18.

                    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                  administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                No.

                               Yes.



 18. How many creditors do you estimate that you owe?

                                                    1 - 49                            1000 - 5000                           25001 - 50000
                                                    50 - 99                           5001 - 10000                          50001- 100000
                                                    100 - 199                         10001 - 25000                         > 100000
                                                    200 - 999
 19. How much do you estimate your assets to be worth?

                                                    $0 - $50,000                      $1,000,001 - $10 million              $500,000,001-$1 billion
                                                    $50,001 - $100,000                $10,000,001 - $50 million             $1,000,000,001-$10 billion
                                                    $100,001 - $500,000               $50,000,001 - $100 million            $10,000,000,001-$50 billion
                                                    $500,001 - $1 million             $100,000,001 - $500 million           More than $50 billion

 20. How much do you estimate your liabilities to be?
                                                    $0 - $50,000                      $1,000,001 - $10 million              $500,000,001 - $1 billion
                                                    $50,001 - $100,000                $10,000,001 - $50 million             $1,000,000,001-$10 billion
                                                    $100,001 - $500,000               $50,000,001 - $100 million            $10,000,000,001-$50 billion
                                                    $500,001 - $1 million             $100,000,001 - $500 million           More than $50 billion




Official Form 101                            F.R.B.P Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 1   Mark A. Spalding                       Document Page 4 of 35 Case # (if known)



Part 7: Sign Below


Debtor         I have examined this petition, and I declare under penalty of perjury that the information
               provided is true and correct.

               If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under
               Chapter 7, 11,12, or 13 of title 11, United States Code. I understand the relief available under
               each chapter, and I choose to proceed under Chapter 7.

               I have been informed by my attorney, have received a copy and read the notice required by
               11 U.S.C. § 342(b).

               I request relief in accordance with the chapter of title 11, United States Code, specified in this
               petition.

               I understand making a false statement, concealing property, or obtaining money or property
               by fraud in connection with a bankruptcy case can result in fines up to $250,000, or
               imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               /s/ Mark A. Spalding                                   /s/ Barbara J. Spalding
               Signature of Debtor 1                                  Signature of Debtor 2


               Executed on   5/02/2016                                Executed on   5/02/2016




Attorney       I, the attorney for the debtor(s) named in this petition, declare that I have informed the
               debtor(s) about eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States
               Code, and have explained the relief available under each chapter for which the person is
               eligible.

               I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
               and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an
               inquiry that the information in the schedules filed with the petition is incorrect.



               /s/ Kenneth W. Miller, Jr.                             Date:     5/02/2016
               Signature of Attorney for Debtor


               Kenneth W. Miller, Jr.
               Address

               Attorney At Law                                        Bar ID:   BarID: KM-6266
               95 Market Street
               Salem, NJ 08079
               KM-6266

               Tele: 856-935-0027
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Debtor 2    Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division



                                                                                                                                    Check if this is an amended filing
Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Inform                                                                                                             12/15


Part 1:           Summarize Your Assets
 1. Schedule A/B: Property (Official Form 106A/B)                                                                                                                         Assets

     1a. Copy line 55, Total real estate, from Schedule A/B....................................................................................................         $194,900.00

     1b. Copy line 62, Total personal property, from Schedule A/B.........................................................................................               $39,185.00

     1c. Copy line 63, Total of all property on Schedule A/B ....................................................................................................       $234,085.00



Part 2:           Summarize Your Liabilities
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)                                                                                        Liabilities

     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ......                                          $216,671.00


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                          $0.00

     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .................................                                 $57,686.00


                                                                                                                                  Your total liabilities                $274,357.00




Part 3:           Summarize Your Income and Expenses
 4. Schedule I: Your Income (Official Form 106I)

     Copy your combined monthly income from line 12 of Schedule I .....................................................................................                    $4,039.00

 5. Schedule J: Your Expenses (Official Form 106J)
     Copy your combined monthly income from line 12 of Schedule I .....................................................................................                    $4,246.00




Official Form 106Sum                                                Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Part 4:          Answer These Questions for Administrative and Statistical Records
 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
     [     ]    No. You have nothing to report on this part of the form.
     [ X]       Yes.


 7. What kind of debt do you have?


     [ X ]       Your debts are primarily consumer debts.

     [     ]    Your debts are not primarily consumer debts.


 8. From the Statement of Your Current Monthly Income:

     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.)                                                           $0.00




 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


     From Part 4 on Schedule E/F, copy the following:                                                                                Amount

     9a. Domestic support obligations (Copy line 6a.)                                                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                                $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                                               $17,500.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims. (6g)                        $0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                                                   $0.00

     9g. Total. Add lines 9a through 9f.                                                                                              $17,500.00




Official Form 106Sum                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 2   Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                              Check if this is an amended filing




Official Form 106A/B

Schedule A/B: Property                                                                                                                             12/15


Part 1: Each Residence, Building, Land, or Real Estate You Own / Have Interest
  1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

     No. Go to Part 2.
     Yes. Where is the property?



  01 Residence, building, land, or similar property
        No                                                                                                                Current value of the
                                                                      What is the property?                  entire property?             portion you own?
        Yes
                                                                                                                   $194,900.00                   $(4,100.00)
     Other information you wish to add about this item               Who has an interest in the property?           Check if this is community property

     Debtors residence in Pennsville, NJ                                                                            J
                                 102 Locust Ave



    2. Add the dollar value of the portion you own for all of your entries from Part 1                                                      $-4,100.00




Official Form 106A/B                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Part 2: Describe Your Vehicles
  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not?
  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles



  03 Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No      2012 Nissan Rogue                                        Who has an interest in the property?               Current value of the
                                                                                                                 entire property?           portion you own?
        Yes
                                                                                                                      $13,725.00                $(3,775.00)
                                                                         J Check if this is community property

  03 Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No      2007 Toyota RAV 4 (180,000
                                                                         Who has an interest in the property?               Current value of the
                                                                                                                 entire property?           portion you own?
        Yes     miles)
                                                                                                                       $6,500.00                  $6,500.00
                                                                         J Check if this is community property

  04 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        No                                                               Who has an interest in the property?               Current value of the
                                                                                                                 entire property?           portion you own?
        Yes

                                                                         N Check if this is community property


    5. Add the dollar value of the portion you own for all of your entries from Part 2                                                          $2,725.00




Official Form 106A/B                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 Part 3: Describe Your Personal and Household Items
                                                                                                                                  Current value of the
  Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                    portion you own?


06 Household goods and furnishings
    No
                                                           Miscellaneous household goods                                                    $2,000.00
    Yes


07 Electronics
    No
                                                           Computer, Cell phones                                                              $200.00
    Yes


08 Collectibles of value
    No
                                                           Miscellaneous books                                                                  $25.00
    Yes


09 Equipment for sports and hobbies
    No
    Yes


10 Firearms
    No
    Yes


11 Clothes
    No
                                                           Everyday wearing apparel                                                           $500.00
    Yes


12 Jewelry
    No
                                                           Wedding rings, watches & costume                                                 $1,000.00
    Yes                                                    jewelry

13 Non-farm animals
    No
    Yes


14 Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes



    15. Add the dollar value of all of your entries from Part 3                                                                           $3,725.00




Official Form 106A/B                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 Part 4: Describe Your Financial Assets
                                                                                                                                Current value of the
  Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                  portion you own?


16 Cash
    No
                                                                                                                                              $25.00
    Yes


17 Deposits of money
    No
                                                         Joint checking account (Bank of America)                                           $500.00
    Yes


17 Deposits of money
    No
                                                         Fulton Bank checking account                                                         $10.00
    Yes


18 Bonds, mutual funds, or publicly traded stocks
    No
    Yes


19 Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    No
    Yes


20 Government and corporate bonds and other negotiable and non-negotiable instruments
    No
    Yes


21 Retirement or pension accounts
    No
                                                         Wife's IRA with former employer                                                  $1,000.00
    Yes


21 Retirement or pension accounts
    No
                                                         Husband's 401(k) through prior employer                                          $7,500.00
    Yes


21 Retirement or pension accounts
    No
                                                         Husband's 401(k) through current                                                 $3,000.00
    Yes                                                  employer

22 Security deposits and prepayments
    No
    Yes


23 Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes


24 Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition progr
    No
    Yes




Official Form 106A/B                                  Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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25 Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exerc
    No
    Yes


26 Patents, copyrights, trademarks, trade secrets, and other intellectual property
    No
    Yes


27 Licenses, franchises, and other general intangibles
    No
    Yes


28 Tax refunds owed to you
    No
                                                           Federal & State income tax refunds                                               $3,200.00
    Yes


30 Other amounts someone owes you
    No
    Yes


31 Interests in insurance policies
    No
    Yes


32 Any interest in property that is due you from someone who has died
    No
    Yes


33 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    No
    Yes


34 Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to se
    No
    Yes


35 Any financial assets you did not already list
    No
    Yes



    36. Add the dollar value of all of your entries from Part 4                                                                         $15,235.00




Official Form 106A/B                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 Part 5: Describe Any Business-Related Property You Own or Have an Interest In.
                                                                                                                                    Current value of the
     Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                      portion you own?


37     Do you own or have any legal or equitable interest in any business-related property?
      No
      Yes


38     38. Accounts receivable or commissions you already earned
      No
      Yes


39     Office equipment, furnishings, and supplies
      No
      Yes


40     Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
      No
      Yes


41     Inventory
      No
      Yes


42     Interests in partnerships or joint ventures
      No
      Yes


43     Customer lists, mailing lists, or other compilations
      No
      Yes


44     Any business-related property you did not already list
      No
      Yes



      36. Add the dollar value of all of your entries from Part 4                                                                                 $0.00




Official Form 106A/B                                      Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 Part 6: Farm & Commercial Fishing-Related Property You Own / Have an Interest.
                                                                                                                                  Current value of the
  Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                    portion you own?


46 Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    No
    Yes


47 Farm animals
    No
    Yes


48 Crops—either growing or harvested
    No
    Yes


49 Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
    No
    Yes


50 Farm and fishing supplies, chemicals, and feed
    No
    Yes


51 Any farm- and commercial fishing-related property you did not already list
    No
    Yes



    52. Add the dollar value of all of your entries from Part 6                                                                                 $0.00




Official Form 106A/B                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 Part 7: All Property You Own or Have an Interest in That You Did Not List Above
                                                                                                                                                                            Current value of the
  Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                              portion you own?


53 Do you have other property of any kind you did not already list?
    No
    Yes



    54. Add the dollar value of all of your entries from Part 7.                                                                                                                        $0.00



Part 8: List the Totals of Each Part of this Form

    55. Part 1: Total real estate, line 2 ............................................................................................................................          $-4,100.00

    56. Part 2: Total vehicles, line 5                                                                                           $2,725.00
    57. Part 3: Total personal and household items, line 15                                                                      $3,725.00

    58. Part 4: Total financial assets, line 36                                                                                $15,235.00

    59. Part 5: Total business-related property, line 45                                                                                  $0.00

    60. Part 6: Total farm- and fishing-related property, line 52                                                                         $0.00

    61. Part 7: Total other property not listed, line 54                                                                                  $0.00

    62. Total personal property. Add lines 56 through 61                                                                       $21,685.00

    63. Total of all property on Schedule A/B. Add line 55 + line 62...............................................................................                             $17,585.00




Official Form 106A/B                                                      Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                         Check if this is an amended filing




Official Form 106C

Schedule C: The Property You Claim as Exempt                                                                                               04/16


 Part 1:         Identify the Property You Claim as Exempt
 1. Which set of exemptions are you claiming?

             You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

             You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description                     Current value of the       Amt of the exemption         Specific laws that allow exemption
                                              portion you own


 01 Residence, building                              194,900.00                   10,000.00          11 USC 522(D)(1)
                                            100% of fair market value, up to any applicable statutory limit

 03 Cars, vans, trucks,                                  6,500.00                   6,500.00         11 USC 522(d)(2)+(1)
                                            100% of fair market value, up to any applicable statutory limit

 06 Household goods                                      2,000.00                   2,000.00         11 USC 522(d)(3)
                                            100% of fair market value, up to any applicable statutory limit

 07 Electronics                                             200.00                     200.00        11 USC 522(d)(3)
                                            100% of fair market value, up to any applicable statutory limit

 08 Collectibles                                              25.00                      25.00       11 USC 522(d)(3)
                                            100% of fair market value, up to any applicable statutory limit

 11 Clothes                                                 500.00                     500.00        11 USC 522(d)(3)
                                            100% of fair market value, up to any applicable statutory limit

 12 Jewelry                                              1,000.00                   1,000.00         11 USC 522(d)(4)
                                            100% of fair market value, up to any applicable statutory limit

 16 Cash                                                      25.00                      25.00       11 USC 522(d)(5)
                                            100% of fair market value, up to any applicable statutory limit

 17 Deposits of money                                       500.00                     500.00        11 USC 522(d)(5)
                                            100% of fair market value, up to any applicable statutory limit

 17 Deposits of money                                         10.00                      10.00       11 USC 522(d)(5)
                                            100% of fair market value, up to any applicable statutory limit


Official Form 106C                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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 21 Retirement pension                              1,000.00                 1,000.00        11 USC 522(d)(10)(E)
                                        100% of fair market value, up to any applicable statutory limit

 21 Retirement pension                              7,500.00                 7,500.00        11 USC 522(d)(10)(E)
                                        100% of fair market value, up to any applicable statutory limit

 21 Retirement pension                              3,000.00                 3,000.00        11 USC 522(d)(10)(E)
                                        100% of fair market value, up to any applicable statutory limit

 28 Tax refunds                                     3,200.00                 3,200.00        11 USC 522(d)(5)+(1)
                                        100% of fair market value, up to any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $155,675?

              No.

              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                     No.

                     Yes.




Official Form 106C                               Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                       Check if this is an amended filing




Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                12/15


Part 1:          List All Secured Claims
1. Do any creditors have claims secured by your property?

           No. Check this box and submit this form to the court with your other schedules.
           Yes. Fill in all of the information below.
2. List all secured claims.


        Creditor’s Name                                                               Amount of Claim            Value                Unsecured

Chase Bank                                         Claim is                             $160,775.00           $194,900.00
PO Box 24696                                                Contingent
Columbus OH 43224-0696                                      Unliquidated
                                                            Disputed
                                                                                                        Describe the property
102 Locust Ave Pennsville NJ                       Nature of lien.                                      Mortgage loan on debtors' residence
Who owes the debt?                                      An agreement                                    at 102 Locust Avenue

                                                            Statutory Lien
     Claim relates to a community debt                      Judgment lien from a lawsuit
Dt             2012                                         Other (including a right to offset)
Last 4 digits of account number __ 0310
                                   __ __ __

Chase Bank                                         Claim is                              $38,601.00           $194,900.00
PO Box 24696                                                Contingent
Columbus OH 43224-0696                                      Unliquidated
                                                            Disputed
                                                                                                        Describe the property
102 Locust Ave Pennsville NJ                       Nature of lien.                                      Home equity line of credit on
Who owes the debt?                                      An agreement                                    debtors' residence at 102 Locust Ave

                                                            Statutory Lien
     Claim relates to a community debt                      Judgment lien from a lawsuit
Dt             2007                                         Other (including a right to offset)
Last 4 digits of account number __ 4667
                                   __ __ __




Official Form 106D                                  Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 1   Spalding, Mark A.
                                                        Document Page 18 of 35      Case #:


NMAC                                                   Claim is                            $17,295.00                $13,725.00              $3,570.00
PO Box 660366                                               Contingent
Dallas TX 75266                                             Unliquidated
                                                            Disputed
                                                                                                             Describe the property
2012 Nissan Rogue                                      Nature of lien.                                       Purchase money loan for 2012
Who owes the debt?                                          An agreement                                     Nissan Rogue

                                                            Statutory Lien
     Claim relates to a community debt                      Judgment lien from a lawsuit
Dt               2015                                       Other (including a right to offset)
Last 4 digits of account number __ 6137
                                   __ __ __




                             Dollar value of all entries in Amount of Claim:             $216,671.00



Part 2:           List Others to Be Notified About a Debt That You Already Listed
Any Notice only creditors?
           No

           Yes

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.




Official Form 106D                                     Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
           Case 16-19116-JNP                  Doc 1       Filed 05/10/16 Entered 05/10/16 14:24:24                          Desc Main
Debtor 1   Spalding, Mark A.
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Debtor 2   Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                        Check if this is an amended filing




Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims                                                                                            12/15


Part 1:          List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

              No. Go to Part 2
              Yes.




                                                                        End of Part 1




Part 2:          List All of Your NONPRIORITY Unsecured Claims.
3. Do any creditors have nonpriority unsecured claims against you?

              No. Go to Part 2
              Yes.
4. List all nonpriority unsecured claims in the alpha order of the creditor.


        Creditor’s Name                                                                                                                 Total Claim

AES                                                       Claim is                                                                      $12,500.00
PO Box 2461                                                     Contingent
Harrisburg, PA 17105-2461                                       Unliquidated
                                                                Disputed


Who owes the debt?                                        Type of NONPRIORITY unsecured claim
                                                          Student loans
      Claim relates to a community debt
Dt           2004-
Last 4 digits of account number __ 9275
                                   __ __ __




Official Form 106E/F                                    Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Bank Of America                                    Claim is                                                                       $13,998.00
PO Box 982236                                           Contingent
El Paso, TX 79998-2236                                  Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Last used
Dt            2015
Last 4 digits of account number __ 3170
                                   __ __ __

Bank Of America                                    Claim is                                                                         $5,771.00
PO Box 982236                                           Contingent
El Paso, TX 79998-2236                                  Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Last used
Dt            2015
Last 4 digits of account number __ 2204
                                   __ __ __

Chase Bank/Disney                                  Claim is                                                                         $3,643.00
PO Box 15298                                            Contingent
Wilmington, DE 19850-5298                               Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Last used
Dt            2015
Last 4 digits of account number __ 2491
                                   __ __ __

Citibank                                           Claim is                                                                       $11,144.00
PO Box 6241                                             Contingent
Sioux Falls, SD 67117                                   Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Last used
Dt            2015
Last 4 digits of account number __ 4810
                                   __ __ __




Official Form 106E/F                              Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
           Case 16-19116-JNP              Doc 1    Filed 05/10/16 Entered 05/10/16 14:24:24                           Desc Main
Debtor 1   Spalding, Mark A.
                                                   Document Page 21 of 35      Case #:


Citibank                                           Claim is                                                                           $521.00
PO Box 6241                                             Contingent
Sioux Falls, SD 67117                                   Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Last used
Dt            2015
Last 4 digits of account number __ 0103
                                   __ __ __

Sallie Mae/Navient                                 Claim is                                                                         $2,500.00
PO Box 9500                                             Contingent
Wilkes Barre PA 18773                                   Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   Student loans
     Claim relates to a community debt
Dt            2012
Last 4 digits of account number __ 3376
                                   __ __ __

Sallie Mae/Navient                                 Claim is                                                                         $2,500.00
PO Box 9500                                             Contingent
Wilkes Barre PA 18773                                   Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   Student loans
     Claim relates to a community debt
Dt            2012
Last 4 digits of account number __ 3376
                                   __ __ __

Wells Fargo Financial Bank                         Claim is                                                                         $5,109.00
PO Box 10347                                            Contingent
DesMoines IA 50306-0347                                 Unliquidated
                                                        Disputed


Who owes the debt?                                 Type of NONPRIORITY unsecured claim
                                                   NonPriority Unsecured
     Claim relates to a community debt             Credit line loan for purchase of
                                                   heater
Dt            2015
Last 4 digits of account number __ 8373
                                   __ __ __




                                                                End of Part 2




Official Form 106E/F                              Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 1   Spalding, Mark A.
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Part 3:          List Others to Be Notified About a Debt That You Already Listed
Any Notice only creditors?
           No

           Yes

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.




                                                                      End of Part 3




Part 4:          Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.



                         Part 1                                                                               Total claim

                             6a. Domestic support obligations.                                                              $0.00
                             6b. Taxes and certain other debts you owe the government                                       $0.00
                             6c. Claims for death or personal injury while you were intoxicated                             $0.00
                             6d. Other. Add all other priority unsecured claims.                                            $0.00
                             6e. Total. Add lines 6a through 6d.                                                            $0.00




                          Part 2                                                                              Total claim


                             6f. Student loans                                                                    $17,500.00

                             6g. Obligations arising out of a separation agreement or divorce                               $0.00

                             6h. Debts to pension or profit-sharing plans, and other similar debts                          $0.00

                             6i. Other. Add all other non priority unsecured claims.                              $40,186.00

                             6j. Total. Add lines 6f through                                                      $57,686.00




Official Form 106E/F                                   Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 2   Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                           Check if this is an amended filing




Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases                                                                         12/15


1. Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules.
            Yes. Fill in all of the information below.
2. List separately each person or company with whom you have the contract or lease.
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Debtor 1   Spalding, Mark A.
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Debtor 2   Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                       Check if this is an amended filing




Official Form 106H

Schedule H: Your Codebtors                                                                                                                      12/15


1. Do you have any codebtors?
            No.
            Yes
2. Within the last 8 years, have you lived in a community property state or territory?
                  No. Go to line 3.
                  Yes.
                         No.
                         Yes. In which community state or territory did you live?        Fill in the name and current address of that person.

3. In Column 1, list all of your codebtors.
              Case 16-19116-JNP                      Doc 1   Filed 05/10/16 Entered 05/10/16 14:24:24                    Desc Main
                                                             Document Page 25 of 35
   Fill in this information to identify your case:                                               Check if this is:
   Debtor 1    Spalding, Mark A.                                                                         An amended filing
   Debtor 2    Spalding, Barbara J.                                                                      A supplement showing post-petition
   NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                              chapter 13 income as of the following date:
    Case #:



   Official Form 106I


   Schedule I: Your Income                                                                                                             12/15



 Part 1: Describe Employment
                               Debtor 1                                                 Debtor 2 or non-filing spouse

                                      Employed                                               Employed
Employment Status
                                      Not Employed                                           Not Employed

Occupation                     IT Tech                                                  Unemployed
Name of Employer               L3 Communications
Address of Employer            Camden, NJ


Length of Employment           1 yr




 Part 2: Give Details About Monthly Income
 Estimate monthly income as of the date you file this form.
                                                                       For Debtor 1                       For Debtor 2 or non-filing spouse

2. List monthly gross wages, salary, and commissions
                                                                           5,892.00                                             0.00
3. Estimate and list monthly overtime pay.                                       0.00                                           0.00

4. Calculate gross income. Add line 2 + line 3.                            5,892.00                                             0.00
                 Case 16-19116-JNP                              Doc 1          Filed 05/10/16     Entered
                                                                                          For Debtor 1    05/10/16 14:24:24
                                                                                                                    For Debtor 2 orDesc     Main
                                                                                                                                   non-filing spouse
 Copy line 4 here...........................................................   Document 5,892.00
                                                                                            Page 26 of 35                                  0.00

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                      1,461.00                                        0.00
     5b. Mandatory contributions for retirement plans                                           0.00                                        0.00
     5c. Voluntary contributions for retirement plans                                          52.00                                        0.00
     5d. Required repayments of retirement fund loans                                           0.00                                        0.00
     5e. Insurance                                                                            340.00                                        0.00
     5f. Domestic support obligations                                                           0.00                                        0.00
     5g. Union dues                                                                             0.00                                        0.00
     5h. Other deductions.                                                                      0.00                                        0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                            $1,853.00

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                   $4,039.00



8. List all other income regularly received:
     8a. Net income from rental property and from operating                                     0.00                                        0.00
     8b. Interest and dividends                                                                 0.00                                        0.00
     8c. Family support payments that you, a non-filing spouse,                                 0.00                                        0.00
          a business, profession, or farm

     8d. Unemployment compensation                                                              0.00                                        0.00

     8e. Social Security                                                                        0.00                                        0.00
        or a dependent regularly receive
     8f. Other government assistance that you regularly receive                                 0.00                                        0.00

     8g. Pension or retirement income                                                           0.00                                        0.00
     8h. Other monthly income.                                                                  0.00                                        0.00

9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.

10. Calculate monthly income. Add line 7 + line 9.                                                       $4,039.00

11. State all other regular contributions to the expenses that you list in Schedule J.                                                             0.00
12. Add the amount in the last column of line 10 to the amount in line 11.                                                                   $4,039.00

13. Do you expect an increase or decrease within the year after you file this form?

            No

            Yes. Explain
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Fill in this information to identify your case:

Debtor 1    Spalding, Mark A.
                                                                                                        Check if this is:
Debtor 2    Spalding, Barbara J.
                                                                                                                  An amended filing
NEW JERSEY District of NEW JERSEY, CAMDEN, Division
                                                                                                               A supplement showing post-petition
 Case #:
                                                                                                           chapter 13 income as of the following date:



Official Form 106J                                                                                                                          12/15

                                                          Schedule J: Your Expenses

Part 1: Describe your household
1. Is this a joint case?
       No. Gotoline2.

       Yes. Does Debtor 2 live in a separate household?

              No

              Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents?
              No                                                                                              Age     Does dependent live with you?
                                                                     Dependent’s relationship
              Yes. Fill out this information for
                                                                     Daughter                                     5          No       Yes
            each dependent...........
                                                                                                                             No       Yes

                                                                                                                             No       Yes

                                                                                                                             No       Yes
                                                                                                                             No       Yes



3. Do your expenses include expenses of people other than yourself and your dependents?           No        Yes




Part 2: Estimate Your Ongoing Monthly Expenses
  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as
  of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.
  Include expenses paid for with non-cash government assistance if you know the value of such assistance and have included it on
  Schedule I: Your Income (Official Form B 6I.)                                                                Your Expenses

4. The rental or home ownership expenses for your residence.                                                           1,461.00

  If not included in line 4:
  4a. Real estate taxes                                                                                                     0.00
  4b. Property, homeowner’s, or renter’s insurance                                                                           0.00
  4c. Home maintenance, repair, and upkeep expenses                                                                         75.00
  4d. Homeowner’s association or condominium dues                                                                            0.00

5. Additional mortgage payments for your residence, such as home equity loans                                                0.00
          Case 16-19116-JNP
6. Utilities
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                                                        Document Page 28 of 35
  6a. Electricity, heat, natural gas                                                                        235.00
  6b. Water, sewer, garbage collection                                                                       60.00
  6c. Telephone, cell phone, Internet, satellite, and cable services                                        200.00
  6d. Other. Specify:                                                                                         0.00


7. Food and housekeeping supplies                                                                           500.00
8. Childcare and children’s education costs                                                                   0.00
9. Clothing, laundry, and dry cleaning                                                                      125.00
10. Personal care products and services                                                                      50.00
11. Medical, dental and medicine (uninsured)                                                                100.00
12. Transportation. Include gas, maintenance, bus or train fare.                                            375.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      100.00
14. Charitable contributions and religious donations                                                          0.00

15. Insurance.
  15a. Life insurance                                                                                         0.00
  15b. Health insurance                                                                                       0.00
  15c. Vehicle insurance                                                                                    245.00
  15d. Other insurance. Specify:                                                                              0.00




16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.                          0.00
   Specify
17. Installment or lease payments:
  17a. Car payments for Vehicle 1                                                                           300.00
  17b. Car payments for Vehicle 2                                                                             0.00
  17c. Other.Specify: Home Equity payments                                                                  220.00
  17d. Other.Specify:                                                                                         0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted                    0.00
19. Other payments you make to support others who do not live with you.                                       0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
  20a. Mortgages on other property                                                                            0.00
  20b. Real estate taxes                                                                                      0.00
  20c. Property,homeowner’s,orrenter’sinsurance                                                               0.00
  20d. Maintenance,repair,andupkeepexpenses                                                                   0.00
  20e. Homeowner’sassociationorcondominiumdues                                                                0.00
         Case 16-19116-JNP                 Doc 1       Filed 05/10/16 Entered 05/10/16 14:24:24              Desc Main
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21. Other. Specify:
                                                                                                         200.00
 Regular expenses of business/profession/farm                           0.00
 Education (Including tuition and school books)                     100.00
 Court Ordered Payments                                                 0.00
  Prevention Against Family Violence                                    0.00
 Emergency expenses                                                 100.00
 Misc.Payments                                                          0.00

                                                                        0.00




22. Your monthly expenses. Add lines 4 through 21.                                                     $4,246.00

23. Calculate your monthly net income.
 23a. Copy line 12 (your combined monthly income) from Schedule I.                                     $4,039.00
 23b. Copy your monthly expenses from line 22 above.                                                   $4,246.00
 23c. Subtract your monthly expenses from your monthly income.                                         $-207.00
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
       No             Yes
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Debtor 2   Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                       Check if this is an amended filing




Official Form 106Dec

Declaration About an Individual Debtor’s Schedules                                                                                       12/15



If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing
property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,

or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



 Sign Below
      Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                 No.

                 Yes



      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.




                    /s/ Spalding, Mark A.
       Signature: __________________________________________
                                                                                          /s/ Barbara J. Spalding
                                                                              Signature: _________________________________________
                    Spalding, Mark A.                                                     Barbara J. Spalding


            Date:                   5/02/2016                                     Date:                      5/02/2016
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Debtor 2     Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                             Check if this is an amended filing




Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7                                                                                    12/15


Part 1:             List Your Creditors Who Have Secured Claims
1.     For any creditors that you listed in Part 1 of Schedule D Creditors Who Have Claims Secured by Property, fill in the information below.


     Identify the creditor and the property that is collateral             What do you intend to do with the property              Did you claim the property
                                                                                                                                   as exempt on Schedule C?


Name: Chase Bank                                                        REAFFIRM                                                                   No.
          PO Box 24696                                                                                                                             Yes.
          Columbus OH 43224-0696


Desc Mortgage loan on debtors' residence at
         102 Locust Avenue


Name: Chase Bank                                                        REAFFIRM                                                                   No.
          PO Box 24696                                                                                                                             Yes.
          Columbus OH 43224-0696


Desc Home equity line of credit on debtors'
         residence at 102 Locust Ave


Name: NMAC                                                              REAFFIRM                                                                   No.
          PO Box 660366                                                                                                                            Yes.
          Dallas TX 75266


Desc Purchase money loan for 2012 Nissan
         Rogue



Part 2:             List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G, fill in the information below.



     Describe your unexpired personal property leases                      What do you intend to do with the property           Will the lease be assumed?




Official Form 108                                           Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 1   Spalding, Mark A.
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Part 3:         Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.




                    /s/ Mark A. Spalding
        Signature: __________________________________________
                                                                                             /s/ Barbara J. Spalding
                                                                                 Signature: _________________________________________
                    Mark A. Spalding                                                         Barbara J. Spalding


            Date:                      5/02/2016                                     Date:                      5/02/2016




Official Form 108                                     Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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Debtor 1     Spalding, Mark A.
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Debtor 2     Spalding, Barbara J.
NEW JERSEY District of NEW JERSEY, CAMDEN, Division                                                              Check if this is an amended filing




Disclosure

Disclosure of Compensation                                                                                                                           12/15

 The undersigned certify the following pursuant to 11 U.S.C. 329(a) and Fed. Bankr. P. 2016(b)
 1. The undersigned is the Attorney for the Debtors in this case.
 2. The compensation paid or agreed to be paid by the Debtor to the undersigned is              $1,000.00 plus filing fee and costs of          $335.00
      (a) for legal services rendered under paragraph 4,
      (b) within 12 months prior to filing this statement, Debtor has paid:                     $1,000.00
      (c) the unpaid balance due and payable is:                                                     $0.00
 3.             $0.00 for the filing fee in this case has been paid.

 4. The services rendered or to be rendered include the following:
      (a) Analysis of the financial situation, and rendering advice and assistance to the Debtors in determining whether to file a petition under Title 11
          of the United States Code.
      (b) Preparation and filing of the petition, schedules, statement of affairs and other documents required by the Court.

      (c) Representation of the Debtors at the meeting of creditors and confirmation hearing and any adjourned hearings thereof.

 5. The fee agreement between the Debtor(s) and the undersigned will control fees. The undersigned reserves the right to file supplemental fee
      applications on notice to all interested parties.

 6. Debtor(s) agree that the following services are not included in the above fee & shall be subject to & fixed by the order of the Court.
      (a) Any adversary proceedings and any other contested bankruptcy matter, including non-dischargeable.
      (b) Costs related to credit reports, judgments searches, couriers, travel, extraordinary PACER charges or duplication costs.
      (c) All motions.                                                          (g) Notice of settlement of controversy
      (d) Challenge or avoidance of any proof of claim.                         (h) Responses to audits or US Trustee objection to the case.
      (e) Conversion of petition from or to chapter 7 or 13.                    (i) Preparation or apperance at 2004 deposition.
      (f) Any amendment to add creditors.                                       (j) Application to employ professional(s).

 7. The source of payments made by debtor to the undersigned was from the Debtor(s).

 8. The undersigned has received no transfer, assignment or pledge of property except as herein stated.

 9. The undersigned has not shared or agreed to share with any other person, other than with members of the undersigned's law firm, any
      compensation paid or to be paid.

 10. The undersigned certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation
      of the debtors in this bankruptcy proceedings.




                  /s/ Kenneth W. Miller, Jr.
      Signature:________________________________________
                                                                                                           5/02/2016
                                                                                        Executed on: __________________
                  Kenneth W. Miller, Jr.
      Address     Attorney At Law                                                       Court ID:
                  95 Market Street                                                      Tele:        856-935-0027
                  Salem, NJ 08079                                                       BarID: KM-6266
                  KM-6266




Disclosure                                                Rule 9009: Forms may be combined and their contents rearranged to permit economies in their use.
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                       AES
                       9275
                       PO Box 2461
                       Harrisburg, PA 17105-2461



                       Bank Of America
                       3170
                       PO Box 982236
                       El Paso, TX 79998-2236



                       Bank Of America
                       2204
                       PO Box 982236
                       El Paso, TX 79998-2236



                       Chase Bank
                       0310
                       PO Box 24696
                       Columbus OH 43224-0696



                       Chase Bank
                       4667
                       PO Box 24696
                       Columbus OH 43224-0696



                       Chase Bank/Disney
                       2491
                       PO Box 15298
                       Wilmington, DE 19850-5298



                       Citibank
                       4810
                       PO Box 6241
                       Sioux Falls, SD 67117
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